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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


    In re:                                                     Chapter 11

    RED RIVER TALC LLC,1                                       Case No. 24-90505 (CML)

              Debtor.

                AGENDA FOR MATTERS SET FOR CONSOLIDATED HEARING
              ON FEBRUARY 18, 2025 AT 9:00 A.M. (PREVAILING CENTRAL TIME)

TO THE HONORABLE CHRISTOPHER M. LOPEZ:

             The above-captioned debtor (the “Debtor”) files this Agenda of matters set for the

consolidated hearing scheduled for February 18, 2025 at 9:00 a.m. (prevailing Central Time)

before the Honorable Judge Christopher M. Lopez, United States Bankruptcy Judge, Courtroom

401, 4th Floor, 515 Rusk Street, Houston, Texas 77002:

I.           Motions:

             A.      Claimant Kevin Nesko’s Motion to (1) Bar Debtor From Using the 30(b)(6)
                     Deposition Testimony of Justin Lindenmayer at Trial; and (2) Allow
                     Claimant Nesko to Use the Deposition Testimony of Thibaut Mongon at
                     Trial; or (3) Alternatively, to Issue Subpoenas to Messrs. Mongon and
                     Lindenmayer Under Rules 43(a) and 45(c) of the Federal Rules of Civil
                     Procedure to Compel Their Appearances at Trial By Remote Transmission
                     [Dkt. 1064, Adv. Dkt. 147] (the “Nesko Deposition Motion”).

                     Status: This matter is going forward.

                     Related Documents:

                     1.       Debtor’s Objection to the Nesko Deposition Motion [Dkt. 1074, Adv.
                              Dkt. 148].

                     2.       Motion to Seal Nesko Deposition Motion [Dkt. 1079, Adv. Dkt. 149].



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             The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


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        B.       Motion of the Coalition of Counsel for Justice for Talc Claimants to Dismiss
                 the Chapter 11 Case Pursuant to 11 U.S.C. § 1112(b) [Dkt. 44]
                 (the “Coalition Motion to Dismiss”) and Motion of the United States Trustee
                 to Dismiss Case Under 11 U.S.C. § 1112(B) [Dkt. 299] (the “UST Motion to
                 Dismiss”).

                 Status: These matters are going forward.

                 Related Documents:

                 1.     Joinder of Claimants Represented by Barnes Law Group, LLC to
                        Coalition Motion to Dismiss [Dkt. 302].

                 2.     Joinder of Claimants Represented by Barnes Law Group, LLC to UST
                        Motion to Dismiss [Dkt. 303].

                 3.     Joinder of Claimants Represented by Goldstein Greco, P.C. to Coalition
                        Motion to Dismiss [Dkt. 308].

                 4.     Joinder of Claimants Represented by Goldstein Greco, P.C. to UST
                        Motion to Dismiss [Dkt. 309].

                 5.     Memorandum of Law Joining the UST Motion to Dismiss and the
                        Coalition Motion to Dismiss [Dkt. 375].

                 6.     J&J Insurers’ Joinder to UST Motion to Dismiss [Dkts. 376, 378].

                 7.     Joinder in UST Motion to Dismiss [Dkt. 388].

                 8.     Debtor’s Omnibus Objection to the Coalition Motion to Dismiss and the
                        UST Motion to Dismiss [Dkt. 425].

                 9.     Omnibus Objection of the Ad Hoc Committee of Supporting Counsel to
                        Motions to Dismiss [Dkt. 426].

                 10.    The SLF Claimants Corrected (I) Omnibus Objection to the Coalition
                        Voting Pleadings and Cross-Motion Under Rule 3018(a), (II) Objection to
                        the Motions to Dismiss, and (III) Joinder to Certain of the Debtor’s
                        Pleadings, Including the Voting Results Motion [Dkt. 435] (the “SLF
                        Claimants’ Objection and Joinder”).

                 11.    U.S. Trustee Omnibus Reply and Reservation of Rights to Objection to
                        Motion to Dismiss [Dkt. 619].

                 12.    Reply in Support of Coalition Motion to Dismiss [Dkts. 623, 624].




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                 13.    Declaration of Sunni P. Beville in Support of Coalition of Counsel for
                        Justice for the Replies filed on November 22,2024 [Dkt. 631, 632]
                        (the “Beville Declaration”).

                 14.    Motion of The Coalition of Counsel for Justice for Talc Claimants to File
                        Under Seal and Redact Certain Exhibits Referenced in the Coalitions’
                        Reply Briefs Filed on November 22, 2024 [Dkt. 633] (the “Coalition
                        Motion to Seal November 22, 2024 Replies”).

                 15.    Notice of Joinder of Tamara Newsome to Pleadings Filed By the Coalition
                        Of Counsel For Justice For Talc Claimants [Dkt. 1096] (the “Newsome
                        Joinder to Certain Coalition Pleadings”).

        C.       Debtor’s Motion for Entry of an Order Approving (I) Adequacy of
                 Disclosure Statement, (II) Solicitation Packages and Procedures Employed
                 for the Solicitation and Tabulation of Votes on the Debtor’s Prepackaged
                 Plan of Reorganization and (III) Notice of Non-Voting Status [Dkt. 46]
                 (the “Disclosure Statement Motion”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     Notice of Filing of Solicitation Versions of the Prepackaged Chapter 11
                        Plan of the Debtor and Related Disclosure Statement [Dkt. 25].

                 2.     Declaration of Stephenie Kjontvedt of Epiq Corporate Restructuring, LLC,
                        Regarding the Solicitation and Tabulation of Ballots Cast On the
                        Prepackaged Chapter 11 Plan of Reorganization of the Debtor [Dkt. 47]
                        (the “Kjontvedt Tabulation Declaration”).

                 3.     Declaration of Shannon R. Wheatman, Ph.D. in Support of
                        (I) Supplemental Notice Plan and (II) Report on Implementation of
                        Supplemental Notice Plan [Dkt. 48] (the “Wheatman Declaration”).

                 4.     Objection of the Coalition of Counsel for Justice for Talc Claimants to the
                        Disclosure Statement Motion [Dkt. 268] (the “Coalition Disclosure
                        Statement Objection”).

                 5.     U.S. Trustee’s Consolidated Objection to the Disclosure Statement Motion
                        and Motion for Entry of an Order Confirming the Results of Voting on the
                        Prepackaged Plan of Reorganization (ECF No. 305) [Dkt. 395] (the “UST
                        Disclosure Statement Objection”).

                 6.     Insurers’ (A) Objection to the Disclosure Statement Motion, and
                        (B) Preliminary Objection to Confirmation of the Plan [Dkt. 452]
                        (the “Insurers’ Disclosure Statement and Plan Objection”).


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                 7.     Limited Joinder by Employers Insurance Company of Wausau and
                        National Casualty Company to Insurers’ Disclosure Statement Objection
                        [Dkt. 454] (the “Employers Insurance Joinder to Insurers’ Disclosure
                        Statement and Plan Objection”).

                 8.     Allstate Insurance Company’s Joinder to Insurers’ Disclosure Statement
                        and Plan Objection [Dkt. 459].

                 9.     Affidavit of Publication The Wall Street Journal [Dkt. 470] (the “WSJ
                        Affidavit”).

                 10.    Affidavit of Publication, USA Today [Dkt. 471] (the “USA Today
                        Affidavit”).

                 11.    Affidavit of Publication, New York Times [Dkt. 537] (the “NYT
                        Affidavit”).

                 12.    Debtor’s Consolidated Reply in Support of the Disclosure Statement
                        Motion [Dkts. 634, 635] (the “Disclosure Statement Reply”).

                 13.    Motion of the Debtor to Seal the Disclosure Statement Reply [Dkt. 636].

                 14.    SLF Claimants’ Claimants’ Preliminary Joinder and Reply in Support of
                        Debtor’s (I) Voting Results Motion and (II) Disclosure Statement Motion
                        [Dkt. 642] (the “SLF Claimants’ Joinder and Reply”).

                 15.    Order Granting Motion of the Debtor to Seal the Disclosure Statement
                        Reply [Dkt. 892].

                 16.    The Newsome Joinder to Certain Coalition Pleadings.

        D.       Objection of the Coalition of Counsel for Justice for Talc Claimants to
                 Debtor’s Ex Parte Application for Entry of an Order Authorizing the
                 Employment and Retention of Epiq Corporate and Emergency Ex Parte
                 Motion for the Entry of an Order Reconsidering and Vacating the Ex Parte
                 Order Authorizing the Employment and Retention of Epiq Corporate
                 Restructuring, LLC as Claims, Noticing and Solicitation Agent [Dkt. 257]
                 (the “Coalition Motion to Vacate”) and U.S. Trustee Motion to Reconsider
                 the Order Authorizing the Employment and Retention of Epiq Corporate
                 Restructuring, LLC as Claims, Noticing, and Solicitation Agent [Dkt. 300]
                 (the “UST Motion to Reconsider”).

                 Status: These matters are going forward.

                 Related Documents:

                 1.     Debtor’s Emergency Ex Parte Application for Entry of an Order
                        Authorizing the Employment and Retention of Epiq Corporate

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                        Restructuring, LLC as Claims, Noticing and Solicitation Agent [Dkt. 19]
                        (the “Epiq Retention Application”).

                 2.     Order Authorizing the Employment and Retention of Epiq Corporate
                        Restructuring, LLC as Claims, Noticing and Solicitation Agent [Dkt. 39].

                 3.     Debtor’s Preliminary Response to Coalition Motion to Vacate [Dkt. 260].

                 4.     Debtor’s Objection to the Coalition Motion to Vacate and the UST Motion
                        to Reconsider [Dkt. 422].

                 5.     Joinder of the Ad Hoc Committee of Supporting Counsel to Debtor’s
                        Objection to the Coalition Motion to Vacate and the UST Motion to
                        Reconsider [Dkt. 429].

                 6.     The SLF Claimants’ Objection and Joinder.

                 7.     Reply in Support of the Coalition Motion to Vacate [Dkts. 627, 628].

                 8.     The Beville Declaration.

                 9.     The Coalition Motion to Seal November 22, 2024 Replies.

                 10.    Supplemental Declaration of Kathryn Tran in Support of the Epiq
                        Retention Application [Dkt. 725].

                 11.    The Newsome Joinder to Certain Coalition Pleadings.

        E.       Motion of the Coalition of Counsel for Justice for Talc Claimants for Entry
                 of an Order Designating Votes Pursuant to 11 U.S.C. § 1126(e) [Dkt. 265]
                 (the “Vote Designation Motion”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     Omnibus Objection of the Ad Hoc Committee of Supporting Counsel to
                        the Motions of the Coalition of Counsel for Justice for Talc Claimants
                        (a) Designating Votes (Dkt. No. 265), (b) Reinstating Votes
                        (Dkt. No. 266), and (C) Establishing Estimation Procedures and
                        Scheduling Estimation Proceedings (Dkt. No. 267) [Dkt. 427] (the “AHC
                        Objection to Coalition Vote and Estimation Motions”).

                 2.     Debtor’s Objection to the Vote Designation Motion [Dkt. 428].

                 3.     Supplemental Declaration of John K. Kim in Support of the Debtor’s
                        Objections to the Coalition’s (I) Designation Motion, (II) Reinstatement
                        Motion and (III) Estimation and Bar Date Motions [Dkt. 433] (the “Kim
                        Vote, Estimation and Bar Date Motions Declaration”).
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                 4.     The SLF Claimants’ Objection and Joinder.

                 5.     Omnibus Reply in Support of Motions of the Coalition of Counsel for
                        Justice for Talc Claimants to (A) Designate Votes Pursuant to 11 U.S.C.
                        § 1126(e) (Dkt. No. 265), and (B) Reinstate Votes Improperly Modified
                        By The Smith Law Firm (Dkt. No. 266) [Dkts. 625, 626] (the “Coalition
                        Vote Motions Reply”).

                 6.     The Beville Declaration.

                 7.     The Coalition Motion to Seal November 22, 2024 Replies.

        F.       Motion of the Coalition of Counsel for Justice for Talc Claimants for Entry
                 of an Order Reinstating Votes Improperly Modified By The Smith Law Firm
                 PLLC [Dkt. 266] (the “Vote Reinstatement Motion”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     The AHC Objection to the Coalition Vote and Estimation Motions.

                 2.     Debtor’s Objection to the Vote Reinstatement Motion [Dkt. 430].

                 3.     The Kim Vote, Estimation and Bar Date Motions Declaration.

                 4.     The SLF Claimants’ Objection and Joinder.

                 5.     The Coalition Vote Motions Reply.

                 6.     The Beville Declaration.

                 7.     The Coalition Motion to Seal November 22, 2024 Replies.

                 8.     The Newsome Joinder to Certain Coalition Pleadings.

        G.       Debtor’s Motion for Entry of An Order Confirming the Results of the Voting
                 on the Prepackaged Plan of Reorganization [Dkt. 305] (the “Motion to
                 Confirm Vote”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     Supplemental Declaration of John K. Kim in Support of the Motion to
                        Confirm Vote [Dkt. 306].

                 2.     Supplemental Declaration of Stephenie Kjontvedt of Epiq Corporate
                        Restructuring, LLC Regarding the Solicitation and Tabulation of Ballots

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                        Cast on the Prepackaged Chapter 11 Plan of Reorganization of the Debtor
                        [Dkt. 307] (the “Kjontvedt Supplemental Tabulation Declaration”).

                 3.     Joinder of the Ad Hoc Committee of Supporting Counsel to the Motion to
                        Confirm Vote [Dkt. 377].

                 4.     The UST Disclosure Statement Objection.

                 5.     Objection of the Coalition of Counsel for Justice for Talc Claimants to the
                        Motion to Confirm Vote [Dkts. 419, 421] (the “Coalition Vote
                        Objection”).

                 6.     Coalition of Counsel for Justice for Talc Claimants Motion to Seal Vote
                        Objection [Dkt. 420].

                 7.     Joinder of Beasley Allen to the Coalition Vote Objection [Dkt. 423].

                 8.     The SLF Claimants’ Objection and Joinder.

                 9.     The SLF Claimants’ Joinder and Reply.

        H.       Debtor’s Motion for Entry of an Order Permitting Clients of Morelli Law
                 Firm, PLLC to Change Their Votes [Dkt. 328] (the “Morelli Vote Motion”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     The Coalition of Counsel for Justice for Talc Claimants’ Objection to the
                        Morelli Vote Motion [Dkt. 559].

                 2.     Declaration of Benedict P. Morelli in Support of Morelli Vote Motion
                        [Dkt. 734].

                 3.     Response Letter in Support of Morelli Vote Motion [Dkt. 919].

        I.       Debtor’s Motion for Entry of an Order Permitting Clients of Summers &
                 Johnson, P.C. to Change Their Votes [Dkt. 731] (the “Summers & Johnson
                 Vote Motion”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     The Coalition of Counsel for Justice for Talc Claimants’ Limited
                        Objection and Reservation of Rights to the Summers & Johnson Vote
                        Motion [Dkt. 865].



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        J.       Second Amended Prepackaged Chapter 11 Plan of Reorganization of the
                 Debtor [Dkt. 722] (the “Second Amended Plan”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     Amended Prepackaged Chapter 11 Plan of Reorganization of the Debtor
                        [Dkt. 24] (the “Amended Plan”).

                 2.     Notice of Filing of Solicitation Versions of the Prepackaged Chapter 11
                        Plan of the Debtor and Related Disclosure Statement [Dkt. 25].

                 3.     Notice of Filing of Redlines of Amended Plan [Dkt. 26].

                 4.     The Kjontvedt Tabulation Declaration.

                 5.     The Wheatman Declaration.

                 6.     The Coalition Disclosure Statement Objection.

                 7.     Coalition of Counsel for Justice for Talc Claimants’ Notice of
                        Declarations of Claimants Who Oppose the Plan and Authorized Beasley
                        Allen to Vote to Reject the Plan [Dkts. 398-407; 409-418]
                        (the “Claimants’ Declarations”).

                 8.     Coalition of Counsel for Justice for Talc Claimants Motions to Seal
                        Claimants’ Declarations [Dkt. 418, 420].

                 9.     The Insurers’ Disclosure Statement and Plan Objection.

                 10.    The Employers Insurance Joinder to the Insurers’ Disclosure Statement
                        and Plan Objection.

                 11.    Allstate Insurance Company’s Joinder to Insurers’ Disclosure Statement
                        and Plan Objection [Dkt. 459].

                 12.    The WSJ Affidavit.

                 13.    The USA Today Affidavit.

                 14.    Response of SLF and the SLF Claimants to the Claimants’ Declarations
                        [Dkt. 494].

                 15.    The NYT Affidavit.

                 16.    Notice of Official Committee of Talc Claimants’ Support for Amended
                        Plan [Dkt. 560].


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                 17.   Statement of the Official Committee of Talc Claimants in Support of the
                       Debtor’s Chapter 11 Case, Forthcoming Amended Plan and Plan Process
                       [Dkt. 613].

                 18.   Orders Granting Coalition Motions to Seal Claimants’ Declarations
                       [Dkts. 703, 704].

                 19.   Sara Lozano Creditor’s Objection to Debtor’s Amended Plan [Dkt. 706].

                 20.   Limited Objection of Truck Insurance Exchange to Confirmation of the
                       Amended Plan [Dkt. 712].

                 21.   Verification of Publication of Online Banner Campaign for Red River
                       Talc LLC Run November 22, 2024 - December 6, 2024 [Dkt. 719].

                 22.   Debtor’s Notice of Filing of (I) Redline of the Second Amended Plan and
                       (II) Certain Exhibits Thereto [Dkt. 724].

                 23.   Objections to Second Amended Plan by Claimant Kevin Nesko
                       [Dkt. 972].

                 24.   Allstate Insurance Company, Solely as Successor in Interest to Northbrook
                       Excess & Surplus Insurance Company, Formerly Northbrook Insurance
                       Company’s Objection to Confirmation of the Plan [Dkt. 973].

                 25.   Objection by ACE Property & Casualty Company, Century Indemnity
                       Company, Great Northern Insurance Company, Pacific Employers
                       Insurance Company, and Westchester Fire Insurance Company to
                       Confirmation of the Plan [Dkt. 975].

                 26.   United States Trustee’s Objection to Confirmation of Second Amended
                       Plan of Reorganization [Dkts. 980, 996].

                 27.   Certain Insurers’ Objection to Confirmation of the Plan [Dkt. 981].

                 28.   Limited Joinder by Employers Insurance Company of Wausau and
                       National Casualty Company to Certain Insurers’ Objections to Plan
                       Confirmation [Dkt. 982].

                 29.   Limited Objection of Truck Insurance Exchange to Confirmation of the
                       Second Amended Prepackaged Chapter 11 Plan of Reorganization of the
                       Debtor [Dkts. 983, 986].

                 30.   United States of America’s Objection to the Second Amended
                       Prepackaged Chapter 11 Plan of Reorganization of the Debtor [Dkt. 984].




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                 31.   TIG Insurance Company, The North River Insurance Company, and
                       Everest Reinsurance Company’s Objection to Confirmation of the Plan
                       [Dkt. 985].

                 32.   Objection of Claimants Represented by Barnes Law Group, LLC to
                       Debtor’s Second Amended Prepackaged Chapter 11 Plan of
                       Reorganization (Dkt. No. 722) [Dkt. 987].

                 33.   Objection of the Coalition of Counsel for Justice for Talc Claimants to the
                       Confirmation of the Second Amended Plan of Reorganization [Dkts. 988,
                       990] (the “Coalition Second Amended Plan Objection”).

                 34.   Motion of the Coalition of Counsel for Justice for Talc Claimants to File
                       Coalition Second Amended Plan Objection Under Seal and Redact Certain
                       Exhibits Referenced in the Objection [Dkt. 989].

                 35.   Joinder of Elizabeth Ashley Prather to the Objections of (1) the US
                       Trustee and (2) the Coalition of Counsel for Justice for Talc Claimants to
                       the Confirmation of the Second Amended Plan of Reorganization
                       [Dkt. 991].

                 36.   Joinder of Beasley Allen to the Coalition Second Amended Plan Objection
                       [Dkt. 993].

                 37.   Joinder of Golomb Legal, P.C. to the Coalition Second Amended Plan
                       Objection [Dkt. 994].

                 38.   Joinder of Claimants Represented by Barnes Law Group, LLC to the
                       Objections of the United States Trustee (Dkt. No. 980) and the Coalition
                       of Counsel for Justice for Talc Claimants (Dkt. No. 988) to the
                       Confirmation of the Second Amended Plan of Reorganization (Dkt. No.
                       722) [Dkt. 997].

                 39.   Limited Joinder of Sue Sommer-Kresse to the Objections of (1) the United
                       States Trustee; and (2) the Coalition of Counsel for Justice for Talc
                       Claimants to the Confirmation of the Second Amended Plan of
                       Reorganization [Dkt. 998].

                 40.   Amended Joinder of Firms to the Coalition Second Amended Plan
                       Objection [Dkt. 1008].

                 41.   Objection of Randi S. Ellis as the Future Claimants’ Representative to the
                       Debtor’s Second Amended Plan [Dkt. 1014].

                 42.   Objection of Personal Care Products Council to Confirmation of the
                       Second Amended Prepackaged Chapter 11 Plan of Reorganization of the
                       Debtor [Dkt. 1066] (the “PCPC Objection”).


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                 43.    Reservation of Rights of Certain Retailers With Respect to the Second
                        Amended Prepackaged Chapter 11 Plan of Reorganization of the Debtor
                        [Dkt. 1067].

                 44.    Claimant Kevin Nesko’s Response to the PCPC Objection [Dkt. 1071].

                 45.    Certification of Charles Siegal in Support of Claimant Kevin Nesko
                        Response to PCPC Objection [Dkt. 1072].

                 46.    Debtor’s Memorandum of Law in Support of Confirmation of the Second
                        Amended Plan [Dkts. 1075, 1076].

                 47.    Debtor’s Motion to Seal the Memorandum of Law in Support of
                        Confirmation of the Second Amended Plan [Dkt. 1077].

                 48.    The Newsome Joinder to Certain Coalition Pleadings.

        K.       Motion of the Coalition of Counsel for Justice for Talc Claimants for Entry
                 of an Order (I) Establishing a Deadline for Filing Proofs of Claim,
                 (II) Approving the Proposed Model Claim Form for Talc Personal Injury
                 Claims and Related Procedures and (III) Directing the Debtor to Provide
                 Adequate Notice of the Deadline for Filing Proofs of Claim to all Talc
                 Personal Injury Claimants [Dkt. 264] (the “Bar Date Motion”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     U.S. Trustee’s Consolidated Reservation of Rights with Respect to the
                        Coalition of Counsel for Justice for Talc Claimants Bar Date Motion (ECF
                        No. 264) and Motion for Entry of an Order Authorizing an Estimation of
                        Current Talc Claims for Voting Purposes (ECF No. 267) [Dkt. 396]
                        (the “UST Bar Date and Estimation Motions ROR”).

                 2.     The Ad Hoc Committee of Supporting Counsel Joinder to the Debtor’s
                        Objection to the Bar Date Motion [Dkt. 431].

                 3.     The Debtor’s Joint Objection to the Bar Date Motion and the Coalition Of
                        Counsel For Justice For Talc Claimants Motion For An Estimation Of
                        Current Talc Claims For Voting Purposes And Related Relief [Dkt. 432]
                        (the “Debtor Objection to Bar Date and Estimation Motions”).

                 4.     The Kim Vote, Estimation and Bar Date Motions Declaration.

                 5.     The SLF Claimants’ Objection and Joinder.

                 6.     Omnibus Reply in Support of the (A) Bar Date Motion and (B) Motion to
                        Establish Estimation Procedures and Schedule Estimation Proceedings

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                        (Dkt. No. 267) [Dkts. 621, 622] (the “Reply in Support of the Bar Date
                        and Estimation Motions”).

                 7.     The Beville Declaration.

                 8.     The Coalition Motion to Seal November 22, 2024 Replies.

                 9.     The Newsome Joinder to Certain Coalition Pleadings.

        L.       Motion of the Coalition of Counsel for Justice for Talc Claimants for Entry
                 of an Order (I) Authorizing an Estimation of Current Talc Claims for Voting
                 Purposes, and (II) Establishing Procedure and Schedule for Estimation
                 Proceedings [Dkt. 267] (the “Estimation Motion”).

                 Status: This matter is going forward.

                 Related Documents:

                 1.     The UST Bar Date and Estimation Motions ROR.

                 2.     The AHC Objection to Coalition Vote and Estimation Motions.

                 3.     The Debtor Objection to Bar Date and Estimation Motions.

                 4.     The Kim Vote, Estimation and Bar Date Motions Declaration.

                 5.     The SLF Claimants’ Objection and Joinder.

                 6.     The Reply in Support of the Bar Date and Estimation Motions.

                 7.     The Beville Declaration.

                 8.     The Coalition Motion to Seal November 22, 2024 Replies.

                 9.     The Newsome Joinder to Certain Coalition Pleadings.

II.     Pre-Trial Briefs

                 1.     Pre-Trial Brief of the Coalition of Counsel for Justice for Talc Claimants
                        [Dkts. 1106, 1108] (the “Coalition Brief”).

                        Related Document:

                               (a)     Motion to Seal Coalition Brief [Dkt. 1107].

                 2.     Ad Hoc Committee of Supporting Counsel’s Memorandum of Law in
                        Support of Confirmation of the Second Amended Plan [Dkt. 1109].



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                 3.   Debtor’s Pretrial Brief [Dkts. 1110, 1111].

                      Related Document:

                             (a)     Motion to Seal Debtor’s Pretrial Brief [Dkt. 1112].

                 4.   The SLF Claimants’ (I) Omnibus Reply in Support of the Second
                      Amended Plan and (II) Pre-Trial Brief [Dkts. 1114, 1115] (the “SLF
                      Claimants’ Brief”).

                      Related Document:

                             (a)     Motion to Seal SLF Claimants’ Brief [Dkt. 1113].

                 5.   Travelers’ Pre-Trial Submission [Dkts. 1116, 1118].

                      Related Document:

                             (a)     Motion to Seal Travelers’ Pre-Trial Submission
                                     [Dkt. 1117].

III.    Related Documents.

                 1.   Witness and Exhibit List of Plaintiff Brandi Carl [Dkt. 1009].

                 2.   Witness and Exhibit List of Claimants Represented by Barnes Law Group,
                      LLC [Dkt. 1061].

                 3.   Witness and Exhibit List of Plaintiff Kevin Nesko [Dkts. 1099, 1137,
                      1149].

                 4.   Witness and Exhibit List of Claimant Tamara Newsome for Hearing
                      Beginning on February 18, 2025 [Dkt. 1127].

                 5.   Personal Care Products Council’s Witness and Exhibit List for Hearing On
                      February 18, 2025 [Dkt. 1129].

                 6.   Exhibit List of Randi S. Ellis, in Her Capacity as Future Claimants’
                      Representative, for Hearing Scheduled for February 18, 2025, at 9:00 a.m.
                      (Central Time) [Dkt. 1130].

                 7.   Motion of Plaintiff Kevin Nesko to File Under Seal Certain Exhibits
                      Attached to His Witness and Exhibit List [Dkt. 1138].

                 8.   The Official Committee of Talc Claimants’ Witness and Exhibit List for
                      Hearing Scheduled for February 18, 2025, at 9:00 a.m. (prevailing Central
                      Time) [Dkt. 1139].



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                 9.    Debtor’s Witness List in Connection With the Consolidated Hearing on
                       February 18, 2025 [Dkt. 1140].

                 10.   Coalition of Counsel for Justice for Talc Claimants’ Final Witness and
                       Exhibit List for Omnibus Hearing Commencing February 18, 2025
                       [Dkt. 1141].

                 11.   Travelers’ Witness and Exhibit List for February 18-28, 2025
                       Consolidated Hearing [Dkt. 1145].

                 12.   U.S. Trustee’s Exhibit List in Connection with Hearings Beginning on
                       February 18, 2025 [Dkts. 1146, 1148].

                 13.   U.S. Trustee’s Witness List in Connection With Hearing Set to Begin
                       February 18, 2025 [Dkt. 1147].

                 14.   SLF’s Witness and Exhibit Lists for Confirmation Hearing [Dkt. 1150].

                 15.   Joint Master Exhibit List for Consolidated Hearing Beginning
                       February 18, 2025 [Dkts. 1151, 1155, 1156, 1157].

                 16.   Debtor’s Exhibit List for Consolidated Hearing Beginning
                       February 18, 2025 [Dkt. 1152].

                 17.   Ad Hoc Committee of Supporting Counsel’s Witness and Exhibit List for
                       Combined Hearing [Dkt. 1153].

                 18.   Witness List of Randi S. Ellis, in Her Capacity as Future Claimants’
                       Representative, for Hearing Scheduled for February 18, 2025, at 9:00 a.m.
                       (Central Time) [Dkt. 1154].

                 19.   Debtor’s Motion for Entry of an Order Authorizing Filing Under Seal of
                       Certain Exhibits for Consolidated Hearing Scheduled for February 18,
                       2025 [Dkt. 1158].



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 Dated: February 16, 2025                          Respectfully submitted,
 Houston, Texas
                                                   /s/ John F. Higgins
                                                   John F. Higgins (TX 09597500)
                                                   M. Shane Johnson (TX 24083263)
                                                   Megan Young-John (TX 24088700)
                                                   James A. Keefe (TX 24122842)
                                                   PORTER HEDGES LLP
                                                   1000 Main Street, 36th Floor
                                                   Houston, Texas 77002
                                                   Telephone: (713) 226-6000
                                                   Facsimile: (713) 228-1331
                                                   jhiggins@porterhedges.com
                                                   sjohnson@porterhedges.com
                                                   myoung-john@porterhedges.com
                                                   jkeefe@porterhedges.com

                                                   Gregory M. Gordon (TX 08435300)
                                                   Dan B. Prieto (TX 24048744)
                                                   Brad B. Erens (IL 06206864)
                                                   Amanda Rush (TX 24079422)
                                                   JONES DAY
                                                   2727 N. Harwood Street
                                                   Dallas, Texas 75201
                                                   Telephone: (214) 220-3939
                                                   Facsimile: (214) 969-5100
                                                   gmgordon@jonesday.com
                                                   dbprieto@jonesday.com
                                                   bberens@jonesday.com
                                                   asrush@jonesday.com

                                                   PROPOSED ATTORNEYS FOR DEBTOR

                                       Certificate of Service

       I certify that on February 16, 2025, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed
by the Debtor’s claims, noticing and solicitation agent.

                                                       /s/ John F. Higgins
                                                       John F. Higgins




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